Case 1:18-cr-20312-MGC Document 102 Entered on FLSD Docket 12/11/2018 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-20312-CR-COOKE

  UNITED STATES OF AMERICA,
      Plaintiff,
  v.

  FRANK CHATBURN RIPALDA,
       Defendant.
  _______________________________/

      UNOPPOSED MOTION TO EXTEND THE PRETRIAL MOTIONS
          DEADLINE AND TO CONTINUE THE TRIAL DATE

        Defendant Frank Chatburn Ripalda requests that the deadline to file pretrial

  motions be extended until April 1, 2019 and that the trial be continued until

  September 9, 2019.

        1.     The discovery in this case is voluminous. As of the filing of this

  motion, the government has produced 602.2 GB of discovery materials. One

  gigabyte is the equivalent of approximately 500,000 typewritten pages. Manual for

  Complex Litigation (Fourth) § 11.446 at 77 (2004). The two latest productions were

  received on October 31, 2018 and November 9, 2018 and consist of approximately

  255.4 MB (approximately 28,373 files). Moreover, the government has just advised

  undersigned that it intends to supersede the indictment this week to add charges.

  Given the volume of discovery and the impending additional charges, more time is

  needed to assess the need to file pretrial motions and to prepare for trial.
Case 1:18-cr-20312-MGC Document 102 Entered on FLSD Docket 12/11/2018 Page 2 of 3



        2.    On September 5, 2018, Mr. Chatburn received from a DOJ “filter

  team” a batch of discovery (183 gigabytes consisting of 535,000 files) seized from

  Mr. Chatburn’s office during the course of the execution of a search warrant on the

  day of Mr. Chatburn’s arrest, April 25, 2018, and subpoenaed from Mr. Chatburn’s

  email provider. The DOJ filter team has identified documents within the items

  seized and subpoenaed that it believes are not privileged. The filter team has been

  producing those documents on a rolling basis for undersigned counsel and Mr.

  Chatburn to skim prior to releasing to the prosecution team. Because these rolling

  productions of documents from the filter team usually consist of thousands of

  documents, they consume much of undersigned counsel’s and Mr. Chatburn’s time.

        3.    Undersigned are counsel of record in United States v. Esformes, Case

  No. 16-CR-20549-SCOLA (S.D. Fla). Mr. Esformes has been pretrial detained for

  more than two years. At a status conference on December 3, 2018, Judge Scola set

  Esformes for trial on February 11, 2019 – the week before Mr. Chatburn’s current

  trial date. Trial in Esformes is expected to last 8 weeks. In addition, Howard

  Srebnick is also counsel of record in United States v. Javat, Case No. 18-Cr-20668-

  MIDDLEBROOKS. The trial in Javat is set for April 1, 2019 and is estimated to

  last approximately 3 weeks. Mr. Javat remains detained while attempting to post a

  $1.35 million corporate surety bond.

                                          2
Case 1:18-cr-20312-MGC Document 102 Entered on FLSD Docket 12/11/2018 Page 3 of 3



        4.    Undersigned conferred with government counsel about the requested

  relief. The government does not oppose a continuance of the trial until September

  9, 2019. Subject to a continuance of the trial date, the government also does not

  oppose an extension of the pretrial motions deadline until April 1, 2019.

  Undersigned has made plans to travel outside of the country with his family during

  June and early July 2019.

        The foregoing document was served via CM/ECF on the date stamped above.

                              Respectfully submitted,

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                                     & STUMPF, P.A.
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